Case 2:05-cr-20100-SH|\/| Document 18 Filed 06/13/05 Page 1 of 2 Page|D 20 w

IN THE UNITED sTATEs DISTRICT coURT F|%ED 53`5
Fon THE wEsTERN DISTRICT oF TENNESSEE
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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 05-20100-Ma

VS.

KEETRICK MCKINNEY,

-_/~_/‘-_/-_/-_/-_»~_/V-._,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., with a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period from May 31, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare

outweigh the need for a speedy trial.

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IT IS SO ORDERED this

day of June, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20100 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

